                  Case 1:18-cr-00373-RJS Document 735
                                                  734 Filed 10/21/20 Page 1 of 1




                                                                      October 21, 2020

         BY ECF

         The Honorable Richard J. Sullivan
         United States Circuit Judge
         Southern District of New York
         New York, NY 10007

                Re:     United States v. Gordon, 18-cr-373

         Dear Judge Sullivan,

                 This letter is to respectfully request an adjournment of the sentence in the above-captioned
         matter for an additional three weeks. I underwent surgery last week and my recovery is a bit slower
         than I had expected. I ask for the additional time in order to be able to prepare for the sentencing
         and have ample time to meet with Mr. Gordon. I have consulted with the Government and the
         Government does not object to this request.

                Thank you for your courtesy and consideration.

                                                                      Respectfully Submitted,

                                                                      ________/s/________

                                                                      James Kousouros, Esq.
         c.c.
                Matthew Hellman
                Elinor Tarlow
                Assistant United States Attorneys
IT IS HEREBY ORDERED THAT Defendant Gordon's sentencing is adjourned to November 30,
2020 at 3:00 p.m. in Courtroom 12D at the Daniel Patrick Moynihan Courthouse, 500 Pearl
Street, New York, NY, 10007. In light of the flexibility required to accommodate the
logistics and planning of in-person proceedings during the pandemic, the Court will
reserve (and the parties shall calendar) December 10, 2020 at 3:00 p.m. as an alternate
date for the sentencing. IT IS FURTHER ORDERED THAT Defendant's sentencing submission
shall be filed no later than November 16, 2020, and the government's sentencing
submission shall be filed no later than November 23, 2020. The Court extends its best
wishes to Mr. Kousouros for a speedy recovery.
SO ORDERED.

Dated:      October 21, 2020
            New York, New York                            ___________________
                                                          Richard J. Sullivan
                                                          UNITED STATES CIRCUIT JUDGE
                                                          Sitting by Designation
